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           Exhibit 3
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(12) United
     Jin
            States Patent                                                    ( 10) Patent No.: US 10 ,029,111 B2
                                                                             (45 ) Date of Patent:                            * Jul. 24, 2018
(54 ) RTMS AT HARMONICS OF BIOLOGICAL                                    (56 )                       References Cited
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(72 ) Inventor: Yi Jin , Irvine, CA (US)                                         8 , 052, 591 B2
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(22 ) Filed : Apr. 7, 2016                                                2010 /0113959 A1 5 /2010 Pascual-Leone et al.
(65)               Prior Publication Data                                            FOREIGN PATENT DOCUMENTS
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               Related U .S . Application Data                                                    OTHER PUBLICATIONS
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(60 ) Provisional application No. 61/621,423 , filed on Apr.            * cited by examiner
      6 , 2012
                                                                        Primary Examiner — John Lacyk
(51 ) Int. Cl.                                                          (74 ) Attorney, Agent, or Firm — Saliwanchik , Lloyd &
      A61N 2 /00                 ( 2006 .01 )                           Eisenschenk
      A61B 5 /00                 ( 2006 .01)
       A61B 5 /0245              (2006 .01)                             (57 )                 ABSTRACT
       A61B 5 /048               ( 2006 .01)                            Repetitive Transcranial Magnetic Stimulation (rTMS) is
(52 ) U .S . CI.                                                        administered at a pulse rate that is equal to or a harmonic of
       CPC ............ A61N 2 /006 (2013 . 01) ; A61B 5 /0245          a biological metric of a patient. The purpose is to provide
                     (2013 .01 ); A61B 5 / 048 (2013 .01 ); A61B        frequency coupling among different organs (e .g., heart,
                 5 / 7282 (2013 .01 ); A61N 2/ 004 ( 2013 .01 );        brain , breathing, and gastrointestinal movement) through
                                       A61B 5 /7257 (2013 .01)          rhythmic entrainment. The specific harmonic chosen is the
(58 ) Field of Classification Search                                    one closest to a desired EEG frequency. The desired EEG
      CPC ............ A61N 2/00 ; A61N 2/ 004 ; A61N 2/02              frequency is chosen based on the cognitive element or
      USPC ......                 .... .... 600 / 9 – 15 , 544 – 545    symptom that is targeted .
      See application file for complete search history .                               17 Claims, 2 Drawing Sheets
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U . S . Patent                                                                       Jul. 24 , 2018                                                      Sheet 1 of 2                                                                                                                            US 10 ,029 ,111 B2



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U . S . Patent                                                                            Jul. 24 , 2018                                                                              Sheet 2 of 2                                                                                                   US 10 ,029,111 B2



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                                                                PagePage
                                                                     5 of 8
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                                                       US 10 ,029 ,111 B2
       RTMS AT HARMONICS OF BIOLOGICAL                                    gence , and other cognitive functions. Neuropsychiatric
                           SIGNALS                                        conditions that can be improved include symptoms of
                                                                          Autism Spectrum Disorder (ASD ) , Alzheimer 's disease ,
            CROSS -REFERENCE TO RELATED                           attention deficit hyperactivity disorder (ADHD ), schizo
                        APPLICATIONS                              phrenia , anxiety , depression, coma, Parkinson 's disease,
                                                                      5
                                                                  substance abuse , bipolar disorder, a sleep disorder, an eating
    The present application is a continuation application of disorder, tinnitus , traumatic brain injury , post traumatic
co -pending application Ser. No . 13/858 ,693 , filed on Apr. 8 , stress disorder (PTSD ), or fibromyalgia .
2013 ; which claims the benefit of U .S . Provisional Appli          Of particular interest in the practice of the present inven
cation Ser. No . 61/621 , 423 , filed on Apr. 6 , 2012 , the 10 tion are methods of modulating a human patient' s alpha
disclosure ofwhich is incorporated herein by reference in its brain waves in a patient with ASD , chronic pain or Alzheim
entirety .                                                        er 's disease. The rTMS treatment protocol will begin as a
                                                                          daily regimen of 30 minutes of rTMS set at a frequency
              FIELD OF THE INVENTION                                      which is a harmonic of the patient 's heart rate which is
   The present invention relates to methods of modulating                 closest to the frequency in the alpha brain wave range of
brain activity with repetitive transcranial magnetic stimula              8 - 13 Hz. As seen in Example 1 below , if the patient' s heart
tion (rTMS) wherein the rTMS is administered at a fre                     rate is 1. 5 Hz then the 6th harmonic will be set a treatment
quency of a biological metric or a harmonic of a biological               frequency of the rTMS device at 9 Hz where his alpha EEG
metric .                                                              20 frequency may be at 9. 1 Hz or 8.9 Hz. Each patientwill vary
                                                                          depending on his /her specific biological measurements .
           BACKGROUND OF THE INVENTION                                BRIEF DESCRIPTION OF THE DRAWINGS
    Transcranial magnetic stimulation and rTMS have been
used to treat many psychological and medicaldisorders such 25 FIG . 1 shows coherence between the alpha band and the
as major depressive disorder, Parkinson ' s disease , Alzheim - heart rate .
er' s disease , autism spectrum disorder (ASD ), schizophrenia     FIG . 2 shows coherence between the delta band and the
and others . Recently , Jin and Phillips , in US Patent Publi- heart rate .
cation 2009/0082690 , have disclosed a treatment protocol
using rTMS where the output of the magnetic field is 30                      DETAILED DESCRIPTION OF THE
adjusted based on a patient ' s EEG intrinsic frequencies in an                        INVENTION
attempt to alter the patient's intrinsic EEG frequencies .
             SUMMARY OF THE INVENTION
                                                                             The term “mammal” when used herein includes any
                                                                      35
                                                                         mammal especially humans . Non -human mammals include
   Briefly , in accordance with the present invention the brain           non -human primates, zoo animals, companion animals
activity of a mammal is modulated by subjecting the mam                   (dogs, cats ), performance mammals such as race horse and
mal to repetitive transcranial magnetic stimulation (rTMS )               breeding animals .
at a frequency of a biological metric , or a harmonic (includ                Various bodily functions operate at frequencies that are
ing sub -harmonics ) of the biological metric for a time 40 harmonics       or sub -harmonics of the brain 's intrinsic fre
                                                               quency. For example , the heart rate is approximately the 6th,
sufficient to modulate the brain activity of the mammal. An
improvement in a physiological condition , psychological 7th , 8th , or 9th sub -harmonic of the brain ' s alpha frequency
condition , or a neuropsychiatric condition exhibited by the atTheawake   and the 2nd or 3rd sub -harmonic of delta at sleep .
                                                                     breathing rate is generally the 5th sub -harmonic of the
mammal is achieved . The biological metric can be any
biological metric including but not limited to heart rate , 45 heartbeat. The gastrointestinal movement frequency is
respiratory rate , gastrointestinal movement rate , or an EEG  approximately the 4 "" or 5 sub -harmonic of the breathing
frequency . Preferably, the brain activity to be modulated is rate .
a desired EEG band , such as, for example , the brains' alpha     It is evident that it is advantageous for there to be
waves, and the rTMS frequency is equal to , or a harmonic     coherence between the peak frequency of a dominant EEG
or sub - harmonic of, a non -EEG biological metric that is 50 activity and the nearest higher harmonic of a biological
closest to the targeted frequency in a desired EEG band such              metric such as for example the resting heart rate . In various
as for example the heart rate, which is a sub -harmonic of the disease states coherence is low while in healthy states
alpha frequency . Other biological metrics include the             coherence is high . In a preferred embodiment of the present
patient' s respiratory rate and the gastrointestinal movement invention the frequency of an administered rTMS treatment
rate ( rate of peristalsis ). Other EEG frequencies include the 55 is chosen according to the EEG peak frequency that has the
delta band (< 4 Hz), the theta band (4 -8 Hz), the beta band              highest coherence coefficient with the EEG .
( 13 - 30 Hz), the gamma band ( ~ 40 Hz ) or the Mu band ( 8 - 13           FIG . 1 shows a patient 's alpha band EEG pattern in the
Hz).                                                                      upper left portion ( top 3 patterns ) with a corresponding fast
   By modulating the brain activity of a mammal, improve -                Fourier transform (FFT ) appearing to the right of each
ments in physical conditions, psychological conditions, and 60 pattern showing frequency peaks. The bottom left pattern is
neuropsychiatric conditions are improved in a non - invasive              an electrocardiogram (ECG ) pattern of the same patient with
manner and usually without the need for medications. Physi                the corresponding higher harmonics appearing to the right of
cal conditions that can be improved include pain relief (pain             the ECG pattern . The coherence coefficient is shown in a box
management), blood pressure , stress , libido, motor function ,           to the right side of the EEG graphs. The highest coherence
physical performance , height ( in children ) or weight. Psy - 65 coefficientof the alpha peak frequency with the 9th harmonic
chological conditions that can be improved included con -                 of the heart rate can be seen from the top EEG pattern
centration / focus, sleep , alertness , memory , speech , intelli -       (Coh = 0 .6 ). The oth harmonic of the heart rate is 10 .52 Hz
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                                                    05/15/23
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                                                              PagePage
                                                                   6 of 8
                                                                        6 of 8


                                                      US 10,029, 111 B2
and this is the preferred frequency for this patient's rTMS            c . Alpha band intrinsic frequency (8 - 13 Hz ). Alpha band
treatment for conditions such as chronic pain , ASD and                    is normally found during periods of relaxation while
Alzheimer's disease .                                                      closing the eyes. Physiologically it is associated with
  FIG . 2 shows a patient' s delta band EEG pattern in the                 the process of inhibition control. Lack of alpha activity
upper left portion ( top 3 patterns ) with a corresponding fast 5          is found in autism , and othermental disorders, such as
Fourier transform (FFT) appearing to the right of each                     anxiety , schizophrenia, and ADHD . Reduced alpha
pattern showing frequency peaks. The bottom left pattern is                frequency coherence has been found in patients with
an electrocardiogram (ECG ) pattern of the same patient with               Alzheimer 's disease . Excessive alpha activity may be
the corresponding higher harmonics appearing to the right of               seen in comatose conditions. In general, rTMS in this
the ECG pattern . The coherence coefficient is shown in a box 10           range will help treat autism , reduce anxiety , increase
to the right side of the EEG graphs . The highest coherence                attention , or treat schizophrenia and Alzheimer's .
coefficient of the delta band peak frequency with the 3rd
harmonic of the heart rate can be seen from the bottom EEG             d . Beta band intrinsic frequency ( 13 -30 Hz). Beta band is
pattern (Coh = 0 .7 ). The 3rd harmonic of the heart rate is 3 .69        associated with alertness , busy or anxious thinking .
Hz and this is the preferred frequency for this patient's 15              Significant reduction of beta activity is often found in
rTMS treatment for conditions such as insomnia and atten                  subjects treated with benzodiazepines . rTMS in this
tion deficit disorders .
   A desynchronized oscillatory system amongst the organs
                                                                           range will help to increase alertness .
is less energy efficient. The frequency coupling among                 e . Gamma band intrinsic frequency (~ 40 Hz). Gamma
different organs develops by rhythmic entrainment in order 20
                                                                         activity displays during cross -modal sensory process
to lower the total energy cost and increase efficiency of the            ing or short term memory matching of recognized
system as a whole . Patients with various mental disorders                objects, sounds, or tactile sensations. A decrease in
are often found to have frequency “ decoupling ” between                  gamma band activity may be associated with cognitive
critical organs, such as heart and brain . Providing rTMS at             decline, such as Alzheimer' s disease . rTMS in this
the frequency ( or a harmonic thereof) of one of these 25                 range is used to treat cognitive deficits in Alzheimer's
biological signals can make use of the body ' s natural                   disease or other forms of dementia .
resonance to influence brain activity and resynchronize the            f. Mu activity (8 -13 Hz). Mu rhythm has frequency
heart/brain / respiratory /gastro oscillation , lower energy , and        overlap with alpha wave but, instead of parietal occipi
increase efficiency and stability . This in turn will lessen the          tal regions, it is only seen in the sensory motor cortex .
symptoms of the disorder or improve a physical condition 30               It reflects the synchronous firing of motor neurons in
which , in the case of Alzheimer ' s disease and ASD , results           rest state . Mu suppression is thought to reflect motor
in improved cognitive function and motor function associ                 mirror neuron systems. Deficits in Mu suppression, and
ated with movement or speech . Additionally , in underdevel              thus in motor neurons, play a role in autism . rTMS in
oped children rTMS treatments according to the present                    the frequency band at the specific location will help
invention may increase the height and weight of the treated 35
child . In another embodiment of the present invention ,                  normalize the mirror neurons to treat autism .
chronic pain relief can be achieved by administering rTMS              In a preferred embodiment of the present invention , an
to a patient in chronic pain at a frequency that is a harmonic       harmonic of a patient's heart rate is used to determine the
of the patient' s heart rate preferably the 6th - 10th harmonic of   rTMS frequency in a patient where the alpha brain wave
the heart rate .                                                     frequency cannot be determined or which is poorly defined .
   By providing rTMS stimulation to the brain at a harmonic          An  harmonic of the heart rate is chosen which most closely
 of the heartbeat, breathing rate , or gastrointestinal fre
 quency , entrainment and the resonant property of the mam           corresponds to a frequency within the alpha brain wave
malian system will gradually improve the frequency cou intrinsic frequency of 8 -13 Hz. If the intrinsic alpha brain
pling among organs. The brain is targeted because it is the 45 wave frequency of an autistic patient or an Alzheimer' s
 central control mechanism for all organs in the body. The patient cannot be determined or is ill- defined then an har
 frequency chosen is preferably a harmonic of the heartbeat monic of the heart rate is chosen which is within the 8 - 13 Hz
that is closest to an interested frequency that may be
 associated with the disorder, symptom , cognitive character and     range. The patient is then treated with rTMS at that harmonic
 istic or physical condition of interest. Frequencies of interest 50      the patient is monitored with EEG to determine when an
 include the following:                                              intrinsic alpha brain wave frequency emerges. Then the
   a . Delta band intrinsic frequency ( < 4 Hz). Delta waves are     rTMS frequency can be changed to this frequency if it is
     normally prevalent in infants , during slow wave sleep          different than the original harmonic used . For example , if an
     or during continuous attention tasks in adults. In patho -      autistic patient has a heart rate of 1 .5 Hz and the patient' s
     logical conditions, it is often associated with metabolic 55 intrinsic alpha brain waves cannot be determined then the
     encephalopathy or other types diffused brain lesions. In rTMS treatments are initially set to the 6th harmonic or 9 Hz.
     general, rTMS at 2nd or 3rd harmonic of heartbeat are The patient is treated at this frequency until an intrinsic
     used to treat insomnia and improve attention .
   b . Theta band intrinsic frequency (4 - 8 Hz). Theta waves on alpha
                                                                 are
                                                                        brain wave frequency is established . rTMS treatments
                                                                      then continued at the intrinsic frequency.
      are commonly found in children and during periods of 60 are
       drowsiness in adults . It is also associated with inhibi-     The following Table 1 shows examples of the present
      tion of elicited responses . It has been observed in       invention where rTMS is used to modify alpha brain waves
       pathological conditions such as focal subcortical (intrinsic frequency 8 - 13 Hz). Table 1 shows the heart rate ,
      lesions , metabolic encephalopathy, and deep midline the heart frequency in Hz and a frequency of the rTMS
      disorders . In general, rTMS at 4th or 5th harmonic of 65 treatment. Typically the rTMS output intensity used to treat
      heartbeat may help control impulsive behavior in           a patient is from 10 % to about 120 % of the motor threshold
      autism and many other mental disorders                     of the patient.
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                    5:23-cv-00626 Document
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                                                         10/15/23
                                                                PagePage
                                                                     7 of 8
                                                                          7 of 8


                                                          US 10 ,029 ,111 B2
                             TABLE 1                                                                   TABLE 4 - continued
  Heart Rate (beat/min )   Heart Rate in Hz    rTMS Frequncy in Hz                                                           rTMS Frequncy in Hz
             SO
                                                                             Heart Rate (beat/min )     Heart Rate in Hz ( 85 % of Motor Threshhold )
                                  0 .83                 9 . 96
                                  1. 0                 9 .0                           80                      1 . 33                 15 .96
                                  1 .08                8 .64                           85                     1 . 42                 31 . 24
                                  1. 17               11 . 7                          90                      1.5                    30 . 0
                                  1 . 25              11. 25
                                  1 . 33              10 .64
                                  1 .42
                                  1.5
                                                            The following Table 5 shows examples of the present
                                                      11 . 36
                                                       9.0
                                                      10 invention where rTMS is used to modify gamma waves
                                                         (intrinsic frequency - 40 Hz). Table 5 shows the heart rate ,
   The following Table 2 shows examples of the present the heartfrequency in Hz and a frequency of the rTMS
invention where rTMS is used to modify delta brain waves treatment. Typically the rTMS power used to treat a patient
( intrinsic frequency < 4 Hz ). Table 2 shows the heart rate, the is from 10 % to about 120 % of the motor threshold of the
heart frequency in Hz and a frequency of the rTMS treat- 13 patient .
ment. Typically the rTMS power used to treat a patient is
from 10 % to about 120 % of the motor threshold of the                                                      TABLE 5
patient.
                                                                             Heart Rate (beat/min )     Heart Rate in Hz     rTMS Frequncy in Hz
                             TABLE 2                                  20                                         0 .83                41. 5
                                                                                                                 1 .0                 54
  Heart Rate (beat/min )   Heart Rate in Hz    rTMS Frequncy in Hz                                               1. 08                75 . 6
                                                                                       98
                                                                                       U                         1 . 17               70 . 2
             50                  0 .83                 2 .49                                                     1 .25                50 .0
                                  1. 0                 3 .0                                                      1. 33                62 .51
                                  1 . 08               2 . 16          25
                                                                                                                 1 .42                71. 0
             70                   1 . 17               3 .51                                                     1.5                  58. 5
             75                   1 . 25               2 .50
             80                   1 . 33               2 .66
             85                   1 . 42               2 .84                   The following Table 6 shows examples of the present
             90                   1. 5                 3 .0
                                                                     - 30 invention where rTMS is used to modify Mu brain waves of
                                                                            the sensory motor cortex ( intrinsic frequency 8 - 13 Hz).
    The following Table 3 shows examples of the present                     Table 6 shows the heart rate , the heart frequency in Hz and
invention where rTMS is used to modify theta brain waves                    a frequency of the rTMS treatment. Typically the rTMS
(intrinsic frequency 4 -8 Hz ). Table 3 shows the heart rate ,              power used to treat a patient is from 10 % to about 120 % of
the heart frequency in Hz and
                            and aa frequency
                                   frequency of the rTMS
                                             of the  riMD 35 the motor threshold of the patient.
treatment. Typically the rTMS power used to treat a patient
is from 10 % to about 120 % of the motor threshold of the                             TABLE 6
patient.
                                                                              Heart Rate (beat/min )      Heart Rate in Hz    rTMS Frequncy in Hz
                             TABLE 3                                   40              50                        0 . 83                 9 .13
                                                                                       60                        1.0                  10 . 00
  Heart Rate (beat/min )   Heart Rate in Hz   rTMS Frequncy in Hz                      65                        1 .08                  8 .64
                                  0 .83                4 .98                           70                        1 . 17               11. 7
                                  1. 0                 6 .0                            75                        1 . 25               12. 5
                                  1 .08                7 . 56                          80                        1 . 33               10 .64
                                  1 . 17                               45              85                        1 . 42                8 .52
                                                       5 . 85                           90                       1. 5                 10 . 5
                                  1 . 25               5 .0
                                  1. 33                6 .65
                                  1 .42                4 . 26
                                  1. 5                 4.5                     The following example illustrates the practice of the
                                                                            present invention but should not be construed as limiting its
                                                                       50 scope.
   The following Table 4 shows examples of the present
invention where rTMS is used to modify beta brain waves                                                  EXAMPLE 1
(intrinsic frequency 13 - 30 Hz ). Table 4 shows the heart rate ,
the heart frequency in Hz and a frequency of the rTMS                              Treatment of Autism
treatment. Typically the rTMS power used to treat a patient 55
is from 10 % to about 120 % of the motor threshold of the
patient.
                                                                  A 9 year -old boy suffered from development delay in
                                                               cognitive and fine motor functions , and had been diagnosed
                                                               with autism . During the initial interview , the patient
                          TABLE 4                              appeared to be slow in response to simple questions , exhib
                                                                       60 ited a limited working memory and had obvious difficulty in
                                              rTMS Frequncy in Hz           writing and other fine motor functions. The patient was
 Heart Rate (beat/min ) Heart Rate in Hz (85 % ofMotor Threshhold )
                              0 .83                  20 . 7
                                                                            reported to have frequent head drops and improper gazing .
                              1 .0                   32 . 0
                                                                            He had been treated with anticonvulsants and was taking
                                                                            anticonvulsantmedications . The patient's EEG showed dif
           v?su                1 .08
                              1 . 17
                                                     19 .44
                                                     32 .76            65 fused and left - frontal lobe dominant slow waves at 6 . 3 Hz
                               1 .25                 25 .0                  with occasional short bursts of alpha rhythm in the occipital
                                                                            area but no clear and consistent intrinsic alpha frequency
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                                                              PagePage
                                                                   8 of 8 of 8


                                                      US 10 ,029 , 111 B2
could be identified . Single -lead ECG showed a regular                   3. The method of claim 1 wherein the rTMS frequency is
heartbeat at 1. 5 Hz. Taking its 6th higher harmonic , it was          equal to , or a harmonic or sub -harmonic of, a non -EEG
decided to set the rTMS at 9 .0 Hz over the mid - central and          biologicalmetric that is closest to an intrinsic frequency in
left frontal lobe. Following the first 2 sessions of rTMS, the a desired EEG band .
patient showed some degree of improvement with more 5 4 . The method of claim 3 wherein the non - EEG biological
                            mmunication . With
vigilance and spontaneous communication   With further
                                               further                 metric is heart rate .
treatments there was a significant reduction of the slow                  5 . The method of claim 1 wherein the physiological
waves in the patient' s EEG and an increase in alpha rhythm .  condition is concentration , sleep , alertness , memory , blood
Clinically , the frequency of seizure episodes reduced sig     pressure , stress , libido, speech , motor function , physical
nificantly . After titrating down the anticonvulsant dosage 10 performance  , cognitive function, intelligence , height or
over time, the patient experienced a significant improvement weight.      6 . The method of claim 1 wherein the neuropsychiatric
in cognitive and motor functions .                                     condition is Autism Spectrum Disorder (ASD ), Alzheimer' s
                         EXAMPLE 2                                     disease , ADHD , schizophrenia , anxiety, depression , coma,
                                                                       Parkinson 's disease , substance abuse , bipolar disorder, a
                Pain Relief-Pain Management                         15 sleep disorder, an eating disorder, tinnitus, traumatic brain
                                                                       injury , post traumatic stress syndrome, chronic pain or
                                                                       fibromyalgia .
   An adult male had chronic pain for several years after                 7. The method of claim 3 wherein the intrinsic frequency
going through many back surgeries . The patient's EEG           is in the delta band ( < 4 Hz), the theta band (4 - 8 Hz), the
showed desynchronized alpha waves and a low alpha wave 20 alpha band (8 - 13 Hz ), the beta band ( 13 - 30 Hz), the gamma
value. Single - lead ECG showed a regular heartbeat at 1 Hz. band (25 - 100 Hz), or the Mu band (8 - 13 Hz).
 Taking its 9 " higher harmonic , it was decided to set the        8 . A method of improving the symptoms of a human
rTMS at 9 Hz over the bilateral pre -frontal lobe. Following having autism spectrum disorder (ASD ) that comprises
3 sessions of rTMS, the patient showed a significant reduc     subjecting the person to repetitive transcranial magnetic
tion in pain . The EEG pattern showed significant improve - 25 stimulation (rTMS ) at a frequency of a non -EEG biological
ment in alpha synchronization .                                metric , or an harmonic or sub - harmonic of said non -EEG
                        EXAMPLE 3                              biological metric .
                                                                   9. The method ofclaim 8 wherein the non - EEG biological
                                                                       metric is the patient' s heart rate .
            Treatment of Alzheimer 's Disease            30 10 . A method of improving the symptoms of a human
                                                           having Alzheimer ' s disease that comprises subjecting the
  An adult female (85 years old ) had been diagnosed with person to repetitive transcranial magnetic stimulation
Alzheimer's disease for about 15 years. The patient's EEG (rTMS ) at a frequency of a non -EEG biological metric , or an
showed alpha peak frequency below 8 Hz which is in the harmonic or sub -harmonic of said non - EEG biological met
theta band range. Single - lead ECG showed a regular
                                                  ar heart
                                                     heart- 35 ric .
beat at 1 . 2 Hz. Taking its 7in higher harmonic , it was decided
                                                                11 . The method of claim 10 wherein the non -EEG bio
to set the rTMS at 8 .4 Hz over the bilateral pre- frontal lobe .
                                                             logicalmetric is the patient's heart rate .
Following 1 session of rTMS, the patient showed a signifi       12 . A method of improving the symptoms of a human
cant improvement in short term memory and working having
memory. After 2 weeks of daily (Monday -Friday ) rTMS 4040 repetitivechronic  pain that comprises subjecting the person to
                                                                         transcranial magnetic stimulation (rTMS ) at a
sessions the patient became more coherent and her MMSE       frequency of a non -EEG biological metric , or an harmonic
 score improved from 14 pre -treatment to 21 post treatment. or sub -harmonic of said non - EEG biological metric .
The EEG pattern showed an alpha wave near 8 Hz.                           13 . The method of claim 12 wherein the non -EEG bio
   The present invention may be embodied in other specific      logical metric is the patient' s heart rate .
forms without departing from its spirit or essential charac - 45 14 The method of claim 1 . wherein the rTMS frequency
teristics . The described embodiments are to be considered in          is equal to, or a harmonic or sub -harmonic of, a non - EEG
all respects only as illustrative and not restrictive. The scope       biological metric having a highest coherence coefficient to
of the invention is , therefore , indicated by the appended            an intrinsic frequency in a desired EEG band .
claims rather than by the foregoing description . All changes             15 . The method claim 8 , wherein the rTMS frequency is
which come within the meaning and range of equivalency of 5050 eequal to , or a harmonic or sub -harmonic of, a non -EEG
                                                 lency 01
the claims are to be embraced within their scope .                     biological metric having a highest coherence coefficient to
   I claim :                                                           an intrinsic frequency in a desired EEG band .
   1 . A method of improving a physiological condition or a               16 . Themethod of claim 10 , wherein the rTMS frequency
                                                          is equal to , or a harmonic or sub -harmonic of, a non - EEG
neuropsychiatric condition of a mammal which comprises 55 biological
subjecting the mammal to repetitive transcranial magnetic             metric having a highest coherence coefficient to
stimulation (rTMS) at a frequency of a non -EEG biological             an intrinsic frequency in a desired EEG band .
metric , or an harmonic or sub -harmonic of said non - EEG               17. The method of claim 12 , wherein the rTMS frequency
biological metric , wherein the mammal is a human .               is equal to , or a harmonic or sub - harmonic of, a non -EEG
   2 . The method of claim 1 wherein the non -EEG biological      biological metric having a highest coherence coefficient to
metric is heart rate, respiratory rate , gastrointestinal move 60 an intrinsic frequency in a desired EEG band .
ment rate .                                                                                     *   *   *      *
